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September 3, 2021


Via ECF
Hon. P. Kevin Castel
United States Courthouse
500 Pearl St.
New York, NY 10007

Re:        FCS Advisors, LLC v. Theia Group, Inc., et al., 21 Civ. 6995 (S.D.N.Y.) –
           Pre-Motion Letter Request to File Motion to Intervene for the Limited Purpose of
           Addressing the Request for a Temporary Receiver

Dear Judge Castel:
        We represent Aithre Capital Partners, LLC (“ACP”) and submit this pre-motion letter to
respectfully request that this Court allow ACP to file a motion to intervene in the above case for
the limited purpose of addressing the request for a temporary receiver—a request that ACP
supports and believes is appropriate under the circumstances. There are no conferences currently
scheduled before the Court.
      I.      FACTUAL BACKGROUND
        On January 5, 2021, ACP closed on a secured loan in the principal amount of
approximately $25 million issued by and due from Theia Group, Inc. and Theia Holdings A, Inc.
(collectively, “Theia”)—two defendants in the above case (the “ACP Loan to Theia”). See Loan
Documents, attached hereto as Exhibit 1.
       At closing, ACP received representations within the Loan Documents, including written
correspondence from Theia’s general counsel, James Hickey, representing that the ACP Loan to
Theia (1) did not violate any written agreements, contracts, indentures, licenses, or other
documents to which Theia was bound, and (2) did not require any approval of a third party. See
No-Conflict Letter, attached hereto as Exhibit 2.
         The plaintiff in the above case, FCS Advisors, LLC (“FCS”), is an investment firm that is
affiliated with the SEC-registered investment advisory firm Brevet Capital Management, LLC
(“Brevet”).
        On August 2, 2021, ACP received written correspondence from Brevet, informing ACP
that the ACP Loan to Theia violated FCS’ loan agreement with Theia. See Brevet’s letter to ACP,
attached hereto as Exhibit 3.
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       That same day, Erlend Olson, an executive of Theia Group, Inc., sent an e-mail maintaining
that Theia had “permission in writing” for the ACP loan and that there was “no question about it.”
See Olson’s e-mail, attached hereto as Exhibit 4.
        Theia’s primary asset is a spectrum license, which supports the ACP Loan to Theia as
collateral. The spectrum license, issued by the Federal Communications Commission (“FCC”),
grants Theia the right to build a network of 112 satellites that would be used to image the entire
surface of the Earth.
       On August 19, 2021, FCS filed the above lawsuit against Theia Group, Inc., Theia
Aviation, LLC, and Theia Holdings A, Inc., seeking: (1) recovery of $289 million in debt due by
the defendants, and (2) appointment of a temporary receiver to monetize Theia’s FCC license in
favor of FCS to protect FCS’s collateral and ability to be repaid.
       ACP seeks permissive intervention solely to be heard on the second issue—the request for
a temporary receiver.

   II.     LEGAL BASIS FOR ACP’S ANTICIPATED MOTION TO INTERVENE
         Federal Rule of Civil Procedure 24(b) provides for permissive intervention upon timely
motion when an applicant’s claim or defense and the main action have a common question of law
or fact. Fed. R. Civ. P. 24(b)(1)(B). The words “claim or defense” are not to be read technically,
but only require “some interest on the part of the applicant.” Louis Berger Grp., Inc. v. State Bank
of India, 802 F. Supp. 2d 482, 488 (S.D.N.Y. 2011) (quotation mark omitted).
        Here, ACP is a secured lender whose interest in the recovery of its loan proceeds is directly
affected by the appointment of a temporary receivership. See Sears Roebuck and Co. v IPofA
Salina Cent. Mall, LLC, 08-4125-SAC, 2008 WL 11383297, at *1-2 (D. Kan Dec. 31, 2008)
(granting intervention where existing plaintiff sought appointment of a receiver, which “directly
affect[ed] the property that secure[ed] the debt owed to [putative intervenor]” and thus could
“impair [putative intervenor’s] interest” if intervention was denied).
        “A district court’s discretion under Rule 24(b) is broad.” Restor-A-Dent Dental Labs., Inc.
v. Certified Alloy Prods., Inc., 725 F.2d 871, 876 (2d Cir. 1984) (citation omitted). Accordingly,
“[c]ourts in this district have consistently held that Rule 24(b) ‘is to be liberally construed.’” Yang
v. Kellner, No. 20 CIV. 3325 (AT), 2020 WL 2115412, at *1, (S.D.N.Y. May 3, 2020) (citation
omitted).
        “The principal consideration for permissive intervention is whether the intervention will
unduly delay or prejudice the adjudication of the rights of the original parties.” Id.; see also Fed.
R. Civ. P. 24(b)(3). However, other considerations include whether the putative intervenor will
benefit from the application, whether its interests are represented by the existing parties, and
whether the putative intervenor will contribute to the development of the underlying factual issues
and to the just and equitable adjudication of the legal questions presented. U.S. Postal Serv. v.
Brennan, 579 F.2d 188, 191-92 (2d Cir. 1978). Permissive intervention “does not require a finding


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that party representation be inadequate.” New York v. U.S. Dep't of Health & Human Servs., No.
19 CIV. 4676 (PAE), 2019 WL 3531960, at *6 (S.D.N.Y. Aug. 2, 2019).
        Intervention may be limited to certain issues. See, e.g., United States v. New York City
Hous. Auth., 326 F.R.D. 411, 418 (S.D.N.Y. 2018) (granting intervention “for the limited purpose”
of opposing a proposed consent decree where limited intervention “[struck] an appropriate balance
between the [p]roposed [i]ntervenor’s interests and the parties’ interest in the expeditious
determination of whether the . . . [d]ecree should be approved”); Elisa v. City of New York, No.
15CV5273-LTS-HBP, 2016 WL 3960558, at *1 (S.D.N.Y. July 12, 2016) (granting intervention
“for the limited purpose of objecting to the proposed settlement agreement between the [existing
parties]”); Chance v. Bd. of Examiners, No. 70 CIV. 4141, 1973 WL 285, at *5 (S.D.N.Y. Dec.
27, 1973) (granting intervention “for the limited purpose of contesting the issue raised by plaintiffs
with respect to the transfer provisions of [an] agreement).
        Here, ACP seeks to intervene at an early stage of the litigation, for the limited purpose of
addressing only one issue—the request for a temporary receivership.1 Accordingly, intervention
will not unduly delay the litigation or prejudice the existing parties. Moreover, intervention will
provide the Court with a fuller picture to evaluate the reasonableness of appointing a receiver.
       For the foregoing reasons, we respectfully request that this Court allow ACP to file a
motion to intervene in the above case for the limited purpose of addressing the request for a
temporary receiver—a request that ACP supports and believes is appropriate under the
circumstances. We thank the Court for its consideration of this request.


                                                                                     Respectfully,
                                                                                     /s/ Fernando Menendez
                                                                                     Fernando Menendez




Cc:                           Charles Anthony Michael (cmichael@steptoe.com)
(via ECF)                     Counsel for Plaintiff FCS Advisors, LLC

                              Motty Shulman (motty.shulman@friedfrank.com)
                              Robin Henry (robin.henry@friedfrank.com)
                              Counsel for Defendants Theia Group, Inc., Theia Aviation, LLC, and Theia
                              Holdings A, Inc.


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    To the extent the Court seeks alignment, ACP aligns itself with the plaintiff, FCS, in this proceeding.

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